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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al.,

                Plaintiffs,

vs.                                         NO. 5:21-cv-844-XR
GREGORY W. ABBOTT, et al.,

                Defendants.

OCA-GREATER HOUSTON, et al.,

                Plaintiffs,

vs.                                         NO. 1:21-cv-780-XR

JOHN SCOTT, et al.,

                Defendants.

HOUSTON AREA URBAN LEAGUE, et al.

                Plaintiffs,

vs.                                         NO. 5:21-cv-848-XR

GREGORY WAYNE ABBOTT, et al.

             Defendants.
LULAC TEXAS, et al.

                Plaintiffs,

vs.                                         NO. 1:21-cv-786-XR

JOHN SCOTT, et al.

                Defendants.




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 MI FAMILIA VOTA, et al.

                    Plaintiffs,

 vs.                                                      NO. 5:21-cv-0920-XR

 GREG ABBOTT, et al.

                    Defendants.

 UNITED STATES OF AMERICA,

                    Plaintiff,

 vs.                                                      NO. 5:21-cv-1085-XR

 THE STATE OF TEXAS, et al.

                    Defendants.



                   THE PARTIES’ JOINT ADVISORY REGARDING
             ORAL ARGUMENT AND REQUEST FOR STATUS CONFERENCE

       The undersigned plaintiffs and defendants in this case file this Joint Advisory Regarding

Oral Argument and Request for Status Conference to outline for the Court the parties’ joint

position regarding the substance and logistics for the February 13, 2024, closing oral argument

hearing in this case and to ensure that the parties’ planned presentation aligns with the Court’s

needs and expectations.

       This Court conducted a twenty-one-day bench trial in this consolidated case from

September 11, 2023, to October 20, 2023. On January 19 and 20, 2024, the parties filed proposed

findings of fact and conclusions of law. This Court has set February 13, 2024, at 10 a.m. for oral

argument.

       The parties met and conferred regarding the February 13 hearing and now jointly advise the

Court that they recommend the hearing proceed as follows:



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        1.       Each side will have a total of three hours to present argument. The private plaintiffs

will argue first and reserve some of their time for rebuttal argument at the conclusion of argument

presented by the State defendants, the county defendants, and the intervenor defendants.

        2.       Each side will allocate its arguments among the various plaintiffs and defendants as

it determines best serves their interests.

        3.       The parties intend to present their arguments by claim, not by individual provisions

of SB1. Defendant Kim Ogg does not join in this paragraph.

        4.       The parties do not intend to present argument regarding any private plaintiffs’

Fourteenth Amendment, Fifteenth Amendment, or Voting Right Act § 2 intentional discrimination

claims as the record is not yet complete on those claims.

        5.       Although most counsel who will present argument will be at the courthouse in San

Antonio, the parties request that one or more counsel be permitted to argue via zoom. As requested

by the court clerk, the parties will provide the names of counsel who will argue, including any who

plan to argue by zoom, no later than February 9, 2024.

        6.       To the extent that any party uses a slide presentation in connection with argument,

that party will make available in the courtroom hard copies of the presentation for distribution to

other counsel.

        7.       The parties request a brief status conference with the Court prior to the February 13,

2024, hearing to ensure that the proposed manner of argument is consistent with the Court’s

expectations.




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                                CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
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